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January 19, 2016

The Honorable William M. Conley
U.S. District Court
Western District of Wisconsin
120 North Henry Street, Room 320
Madison, WI 53703


Dear Honorable Judge William M. Conley,



       I am writing you to express my deepest regret for my actions. I understand what I

have done and why my actions were wrong. I would like to ask that you consider the

following for my sentencing. In this letter I would also like to provide a more detailed

background of myself through my own words as well as the circumstances that led up to

my actions.

       I come from a small almost completely land locked country on the West coast of

Africa called The Gambia. Like many immigrants my family and I came to America for

better opportunity when I was very young. Gambia is a predominately Muslim country

where the teachings and the traditions of Islam are part of the foundation of our culture.

My family and I weren’t well off by any means but we lived a relatively comfortable life

for third world country standards. However, poverty and a lack of resources plague our

institutions. There are many that live a life of sustenance. To escape this paradigm we

moved to New York and started from scratch, a classic immigrant story. We arrived here

legally on a tourist visa but stayed here for years to come with no status at all, I was four

years old.

       In a city as big as New York, where you live can provide vastly different

experiences in how a child grows up. Poverty is rarely the only barrier you have to face.
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             about getting accustomed       #: 190
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                                               environment  and people Page 2 of very
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different from me. Living in the Bronx was not easy, despite being surrounded by a

melting pot of cultures and backgrounds, most people stuck to their own kind. There was

a big enough African population that my family and I could feel at home. My mother and

father made it a point to warn us of the crime dangers in the Bronx. Although I was

young I remembered the constant ring of sirens, horns and the bustling of people. With so

many people around there were bound to be conflicts whether it was at school or on the

streets we lived in. I did my best to stay out of trouble and harm’s way, but that did not

prevent me witnessing acts of gang violence at a young age. My parents and I lived in a

small one bedroom apartment which they afforded through blue collar work. At that age I

couldn’t fully understand the need to leave our home in Gambia for lesser standards,

nonetheless I appreciated and admired their hard work. My Father someone with a

significant amount of education which bore an office and a respected position for the

World Health Organization had to start all over as a security guard in Manhattan.

          After just a couple years in the Bronx my parents, sister and I made the transition

to Sun Prairie, Wisconsin. We had an aunt there that agreed to put us up in her apartment

while we searched for one of our own. Wisconsin was much quieter, cheaper and safer

then New York. My sister and I quickly adjusted to the environment but not as much to

the school. We were foreigners, and in a community where minorities were already

scarce we appeared as aliens in a different world. At the time I was in elementary school

and wouldn’t grow to realize the severity of my handicap until my teen years. I became

aware that not only was I figuratively an illegal alien in a society unaccepting of my

differences but I was quite literally an illegal alien in regards to my status in the United

States.

          My sister and I looked differently, spoke differently and even smelled differently

than our peers. We strove to assimilate into our community but were still often the object
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of ridicule.                        Document
             I counteracted this by focusing    #: 190
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                                                                              During    7
                                                                                     high

school I was involved in a variety of sports, scholar groups and organizations. I competed

in Varsity Football, Track and the Academic Decathlon. I participated in the Sun Prairie

Scholar Society, an organization for high achieving minorities, as well as DECA, an

organization that prepares emerging leaders and entrepreneurs for careers in marketing,

finance, hospitality and management.

       In the middle of my high school years is when I began to seriously comprehend

the consequences of my illegal status. I needed to begin working to help support my

family but could not do so because I had no social security number or work authorization.

My only choice was to work under the table, which I began doing at various restaurants

as well as other ad hoc positions. I also educated myself on the circumstances of being an

illegal immigrant, although I felt like I was the only one among my peers I knew this was

the reality of millions of undocumented aliens living in America. I started to fear whether

or not I could obtain my dream of going to college. With the assistance of my scholar

groups, family and friends I walked the path towards a secondary institution. I applied to

many different schools, took the ACT and SAT. Unfortunately during this process I

would come to find out that I couldn’t receive or accept any type of government aide, this

dealt a swift blow to any chances of affording many private and certain public

institutions. Luckily I had a reasonably affordable and prestigious option in the

University of Wisconsin – Madison, which I happily took.


       To me UW-Madison was a blank canvas for me to paint an amazing experience

with course work and community involvement. I tried to hit the ground running

immediately. One way I did so was through early involvement in Greek life on campus

within a social and professional fraternity, Theta Chi and Alpha Kappa Psi respectively.

Greek life seemed like the anti-thesis to my conservative Muslim upbringing. I only knew

what I saw through movies and media, a counter culture of binge drinking and
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debauchery.                       Document
            I soon learned that this          #: 190
                                     was a common     Filed: 02/01/16
                                                   misconception.        Page
                                                                  I had the    4 of 7of
                                                                            pleasure

being a part of the founding father class of Theta Chi and given the chance to battle this

prejudice. I did so as an executive board member and recruitment chairmen, subsequently

helping lead our “Interest Group” of 12 members to re-chartering with a class of 35

gentlemen. At the same time I was involved in multiple organizations including the Real

Estate Club one of the largest student run organizations on campus, open to both

undergraduate and graduate students. The club met multiple times a semester to learn

from industry professionals and practitioners on a variety of topics including debt

markets, REITS and developments. I was a club officer who was tasked to plan, organize

and execute all social functions and the end of the year banquet, as well as facilitate

networking and professional development.

       My education was not without some troubles and by no means am I perfect

student. There were a few instances where I had to face disciplinary measures. One

involved my fraternity brothers needed someone to purchase beer for an event. I did not

drink at the time neither was I present for the actual event but I volunteered to procure the

alcohol using a family friends Identification. The event was stopped by a police officer

and one of the questions that arose was who purchased the beer, I admitted wrongdoing.

There was another situation where I was given extra time for an exam from my professor

whom I explained I had a disability that being (ADHD). Although I have a diagnosis of

the learning disability (one of the key factors in receiving such testing assistance) I was

ultimately given an academic warning. The professor did not have to give me the grade I

earned on the exam, so he made the decision to give me a failing grade. Finally during

the fall exam period of 2013 I was reprimanded for not properly citing sources for a

paper. My professors wanted me correct/redo my work for a re-grade, because they felt

extenuating circumstances warranted it. The assistant Dean of Students sought for a more

severe punishment arguing that this could be a pattern, the committee tasked with making
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   disciplinary decisions ruled inDocument
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during this time I needed to prepare a 10 page paper on Integrity, redo the work and take

a short online seminar. All of which I did, however the incomplete grade in the course

has yet to be rectified. This along with an outstanding tuition bill is halting my degree. I

have reached out to the professors multiple times but have received no reply. Nonetheless

I understand that it was my own poor decision making that led me to be in such a

position.

        More than 1 million immigrant children without legal status reportedly live in the

United States. Roughly 65,000 graduate from high school each year, but experts estimate

that fewer than 6,500 go on to attend college. Federal dollars are out of the question and

until recently most scholarship funds weren’t attainable to immigrants with temporary or

no status. Since 2001 18 states have passed legislation have passed legislation extending

in-state tuition rates to undocumented students who meet specific requirements.

Wisconsin revoked its law in 2011. Affording UW-Madison was an arduous task. The

obstacles were clearly defined but I trudged on continually sifting and winnowing to seek

further knowledge at the institution as told by the Wisconsin Ideal.

       On top of working under the table and in music, I began to broker small marijuana

transactions for friends in and out of the Greek system. Marijuana was prevalent across

campus and my friends sought my help in leveraging my relationships for the purposes of

acquisition and disposition. Chris Christmas, Enis Gashi and Haris Riza to name a few,

were part of those who sought just that. I became friends with some of the brothers of

The TKE fraternity through a performance I participated in called Humourology.

Humourology’s mission is to promote community engagement and philanthropic service

through creativity and dedication. Humorology, or "Humo" for short, is an annual, juried,

musical show that takes place in April of each year. Humorology has been a UW -

Madison tradition since 1948, touching the lives of students and the community through
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    friendships that are made, and Document    #: raised.
                                   funds that are  190 Filed:   02/01/16
                                                          Each year,       Page
                                                                     over 600     6 of 7
                                                                              students

spend the course of the academic year on a team (cast), writing, composing,

choreographing, and directing original mini-musical comedies. I became close with many

of the brothers in TKE both involved and not involved in the play, eventually meeting

and becoming good friends with Enis Gashi. Chris Christmas rushed our fraternity and

we developed a bond during rush, where I chose him as one of my top choices as a “Little

Brother” in the incoming pledge class.

       I hardly thought of the legality of being involved in marijuana transactions. I

viewed it as a business opportunity and one that helped support a family of

undocumented aliens. Early in college I was doing so on a very small scale until

eventually meeting different players. Whenever a trip presented itself I would receive a

call from Gashi, Riza or sometimes Christmas, subsequently talk to my investors and

wait for the venture to conclude. I realize how much of a mistake this was and how much

it has impacted my life.

       Late in 2012 I was granted Deferred Action for Childhood Arrivals. An

immigration policy that allowed me to receive a two-year renewable work permit and

exemption from deportation. I realized that this was not a path to citizenship but the joy

brought to me by this executive action was unquestionable. I could start to focus on my

career and legally work as well as not worry about deportation. Although some of my

employers were sympathetic of my undocumented situation and were able to make

alternative arrangements to accommodate me, many were not and I lost a lot of

opportunities because of it. It was a huge sigh of relief to be able to apply to many roles

with the confidence that I could legally work there.

       These charges are of the upmost concern to me. They have and will impact my

immigration status, my employment, family, friends and other loved ones. I understand

that this was a huge mistake and by no means am I trying to discredit the seriousness of
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             I was stuck abroad for Document   #: 190 toFiled:
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do so. I continued to seek re-entry fully knowing that criminal charges waited for me

upon my arrival. I am not a coward and through my mistakes I have learned that honesty,

integrity and valiance are important in growth. I face the strong possibility of never

seeing my loved ones again and returning to a country that I don’t have any family in. I

ask that you consider all of this in your decision making. This is my first criminal court

experience and rest assured it will be my last. I hope that this letter has provided

additional insight into my background as well as properly express my deepest regret for

the decisions that I have made that have brought this case upon you.



Sincerely,




Amadou Camara
